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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

    JOHN DOE,                                  §
                                               §
         Plaintiff,                            §
                                               §
    v.                                         § CIVIL ACTION NO. 1:18-cv-
                                               § 00085-RP
    THE UNIVERSITY OF TEXAS AT                 §
    AUSTIN; DR. GREGORY                        §
    FENVES, individually and in his            §
    official capacity,                         §
                                               §
         Defendants.                           §

               DEFENDANTS’ UT AND GREGORY FENVES, IN HIS
               OFFICIAL CAPACITY, MOTION TO DISMISS UNDER
                         FRCP 12(B)(1) AND 12(B)(6)1


          I.     INTRODUCTION AND SUMMARY OF ARGUMENT

         Plaintiff’s Complaint admits the following: Plaintiff, a male UT student,

had sex with a female UT student (“Jane Roe,” or the “complainant”); she was

intoxicated, and witnesses said she was unsteady and had vomited. First

Verified Complaint (“Plaintiff’s Complaint” or “Dkt. 1”) at ¶ 12, 17. She also

blacked out. Id. at ¶ 17. The next day, Plaintiff apologized to her. Id. After

the reported assault, Jane had a rape kit (Sexual Assault Nurse Examination,

“SANE exam”). Id. at ¶ 54.


1Plaintiff sued President Fenves in both his official capacity and individual capacity. This
motion is filed on behalf of UT and President Fenves, in his official capacity. President
Fenves, in his individual capacity, has separate counsel.
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      Jane filed a complaint with UT. See ¶ 14. The investigators talked to

the complainant, Plaintiff, and witnesses.             Id. at ¶ 16. The University

investigated the complaint and set a disciplinary hearing on the matter.2 Id.

at ¶ 19. The likely issue for the university disciplinary hearing officer is

whether Plaintiff had sex with the complainant without effective consent

because she was incapacitated.

      UT’s disciplinary process has not concluded; thus, Plaintiff has not yet

been determined by a hearing officer to have done anything wrong and has not

yet been disciplined. Nor has he filed an appeal following a finding that he did

anything wrong. The process is still underway. Yet Plaintiff has filed suit and

asked this Court to order UT to stop the disciplinary process.

      This Court should dismiss this case because it is not ripe. Plaintiff may

win his disciplinary hearing. Accordingly, Plaintiff has suffered no injury and

none is imminent.

      The fact that Plaintiff has suffered no injury also dictates that this Court

should dismiss this case because Plaintiff lacks standing. Plaintiff has not been

injured and no injury is imminent.



2The original hearing was set for February 7. But because the investigation report written
by the investigators was amended for clarity after John Doe complained about certain
wording, the University pulled that February 7 hearing to allow the parties enough time to
prepare for the hearing. As of the date of this filing, the hearing has not yet been
rescheduled but will likely be scheduled for a hearing in the coming weeks.
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      Further, even assuming the claims are ripe and Plaintiff has standing,

his due process claims fail. First, he asserts that the university kept from him

“exculpatory evidence.” Yet he states that when he complained about it, he

was provided that evidence. Dkt. 1 at ¶55. Accordingly, Plaintiff has no injury

associated with this claim; it is moot. Second, he asserts the university’s

definition of “incapacitation” is unconstitutionally vague. Again, he has no

injury. But assuming he does, the legal test is whether a reasonable person

would understand that his/her conduct would fall within the definition. Here,

Plaintiff alleges he had sex with a student who was unsteady, intoxicated, who

had vomited, and who blacked out.          Plaintiff’s allegations fail to state a

plausible claim that the definition of incapacitation is unconstitutionally

vague.

      Last, the Court should dismiss this case because black-letter law bars

several claims. For example, Plaintiff has sued UT under §1983 and has sued

President Fenves under Title IX.

                  II.   ARGUMENT AND AUTHORITIES

   A. John Doe’s claims against UT and President Fenves in his official
   capacity are not ripe for adjudication.

      Ripeness is essential to a court’s subject-matter jurisdiction. United

Transp. Union v. Foster, 205 F.3d 851, 857 (5th Cir. 2000); see also Lujan v.

Defenders of Wildlife, 504 U.S. 555 (1992). The lack of either ripeness or



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standing can be raised at any time by a party or by the court. Sommers Drug

Stores Co. Employee Profit Sharing Trust v. Corrigan, 883 F.2d 345, 348 (5th

Cir.1989); see also Cinel v. Connick, 15 F.3d 1338, 1341 (5th Cir. 1994).

“Ripeness separates those matters that are premature because the injury is

speculative and may never occur from those that are appropriate for judicial

review.” Foster, 205 F.3d at 857.

      Any claim by Doe that the UT disciplinary hearing process will violate

his due-process rights is not ripe because the alleged injury is speculative. See

Orr v. University of Texas at Austin, 2015 WL 5666200, at *2-3 (Tex. App.—

Austin 2015, no pet.) (not reported) (affirming dismissal of due process claims

for lack of standing and ripeness where student had not yet gone through

disciplinary process). Doe has not yet had a disciplinary hearing. Dkt. 1 at ¶¶

33-42. Thus, he has suffered no injury. He has not been suspended, expelled,

or penalized in any way. In the absence of any tangible legal injury for Plaintiff

to allege, Doe’s claims are not ripe for adjudication. Indeed, Doe may win at his

disciplinary hearing.

      The contention that Doe may win at his hearing is not just theoretical.

In fact, two years ago counsel for Plaintiff represented two male UT students

accused of violating UT’s sexual misconduct policy and sought to obtain an

injunction in Travis County District Court to change the hearing process the



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students would undergo.3 Undersigned counsel argued to that Court that the

issue was not ripe because the students had not yet suffered an injury. The

Court dismissed the cases. The male students ultimately won their hearings

and were not found responsible for sexual misconduct. The same issue is

present here: John Doe has not suffered any injury. As such, this Court should

dismiss this case for lack of subject matter jurisdiction, as the case is not (and

may never be) ripe, pursuant to Federal Rule of Civil Procedure 12(b)(1).

       Moreover, the Supreme Court has indicated that courts should not

entangle themselves in abstract disagreements about administrative policies

and practices and, instead, should let the administrative process run its course.

The Court wrote:

       “Ripeness is a justiciability doctrine designed ‘to prevent the
       courts, through avoidance of premature adjudication, from
       entangling themselves in abstract disagreements over
       administrative policies, and also to protect the agencies from
       judicial interference until an administrative decision has been
       formalized and its effects felt in a concrete way by the challenging
       parties.”

Nat’l Park Hospitality Ass’n v. Dep’t of Interior, 538 U.S. 803, 807–08 (2003)

(citation omitted). Accordingly, this Court should allow the university process

to play out. If Plaintiff loses his disciplinary hearing, appeals to the President,



3 This Court may use judicial notice in adjudicating a motion to dismiss. Funk v. Stryker
Corp., 631 F.3d 777, 783 (5th Cir. 2011); Patterson v. Mobil Oil Co., 335 F.3d 476, 481 n.1
(5 Cir. 2003) (taking judicial notice of documents in pending state court proceedings).
Accordingly, documents from those proceedings are attached as Exhibits 1-6.
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loses the appeal, and is sanctioned, he should file his lawsuit then and seek

injunctive relief to prevent the enforcement of the sanction. At this point,

however, the case is not ripe.

   B. John Doe lacks standing to bring this suit. He has not been
   injured and no injury is imminent.

      Similarly, Plaintiff lacks standing because he has suffered no injury and

no injury is imminent. Article III of the Constitution limits the jurisdiction of

the federal courts to “Cases” and “Controversies.” U.S. Const. art. III, § 2, cl. 1.

The reason for a case-or-controversy limitation is to restrain the federal courts

from enmeshing themselves in deciding abstract and advisory questions of law.

Accordingly, any federal court plaintiff must have case-or-controversy

“standing” to assert a claim. Susan B. Anthony List v. Driehaus, 134 S.Ct. 2334,

2341 (2014) (citing Lujan, 504 U.S. at 560–61. “[S]tanding is perhaps the most

important of the jurisdictional doctrines.” FW/PBS, Inc. v. City of Dallas, 493

U.S. 215, 231 (1990) (internal quotation omitted).

      To establish standing, a plaintiff must show: (1) an actual or imminent,

concrete and particularized “injury-in-fact”; (2) that is fairly traceable to the

challenged action of the defendant (causation); and (3) that is likely to be

redressed by a favorable decision (redressability). Friends of the Earth, Inc. v.

Laidlaw Envt’l. Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000). All three

elements are “an indispensable part of the plaintiff’s case” and the party


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seeking to invoke federal jurisdiction bears the burden to establish them.

Lujan, 504 U.S. at 561. Jurisdiction is “a threshold issue that must be resolved

before any federal court reaches the merits of the case before it.” Perez v. U.S.,

312 F.3d 191, 194 (5th Cir. 2002); Steel Co. v. Citizens for a Better Env’t, 523

U.S. 83, 94–95 (1998).

       An injury-in-fact requires “an invasion of a legally protected interest

which is…concrete and particularized,” not conjectural or hypothetical. Lujan,

504 U.S. at 560. Except for conclusory statements, not entitled to deference

(Plotkin v. IP Axess Inc., 407 F.3d 690, 696 (5th Cir. 2005) (“We do not accept

as true conclusory allegations, unwarranted factual inferences, or legal

conclusions.”)), John Doe has not alleged he has suffered an injury aside from

the possible threat of a hypothetical injury that may result from a negative

outcome of his disciplinary hearing. Dkt. 1 at ¶¶ 102-103.4 In fact, John Doe

cannot state that any injury is “imminent” because his alleged injury would

only materialize if he were found to have violated UT’s Sexual Misconduct

Policy and exhausted the university appellate procedure.

       To the extent John Doe claims he is injured because he has incurred

attorneys’ fees, attorneys’ fees alone are not sufficient to confer standing. Steel

Co. v. Citizens for a Better Environment, 523 U.S. 83, 108 (1998). Otherwise,


4
 Again, to the extent John Doe claims he is injured because he has incurred attorneys’ fees,
attorneys’ fees alone are not sufficient to confer standing. Steel Co. v. Citizens for a Better
Environment, 523 U.S. 83, 108 (1998).
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any litigant could establish standing by retaining a lawyer and incurring fees.

The limitation of federal court jurisdiction would be nonexistent.

      Because John Doe cannot show that he has suffered an injury or that

any such injury is imminent, this Court should dismiss this case for lack of

subject matter jurisdiction under Federal Rule of Civil Procedure 12(b)(1).

   C. Black-letter law dictates that UT has Eleventh Amendment
      immunity from Section 1983 claims. Accordingly, the Court
      should dismiss Plaintiff’s 1983 claims against UT.

      The Eleventh Amendment to the United States Constitution bars an

individual from suing a state in federal court unless the state consents to suit

or Congress has clearly and validly abrogated the state's sovereign immunity.

Coll. Sav. Bank v. Fla. Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666,

670 (1999).

      Eleventh Amendment immunity applies to a plaintiff’s claims against a

state or its agencies brought pursuant to Section 1983. See, e.g., Quern v.

Jordan, 440 U.S. 332, 341 (1979). Texas has not waived its federal court

immunity from suit under civil rights statutes. Aguilar v. Tex. Dep’t of Crim.

Justice, 160 F.3d 1052, 1054 (5th Cir. 1998). Furthermore, it is established law

that state entities have immunity from claims brought under Section 1983

because Congress has not specifically abrogated their immunity under that

statute. See, e.g., Quern, 440 U.S. at 340-55. Finally, the Fifth Circuit and other

courts in this district have consistently held that the University is an arm of

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the State of Texas and therefore afforded the same immunities as the state.

See Elhaj-Chehade v. Office of Chief Admin. Hearing Officer, 235 F.3d 1339, 1

(Table) (5th Cir. 2000). Doe himself acknowledges in his Complaint that UT is

“an agency of the state of Texas.” Dkt. 1 at ¶2. Because the University has not

waived its immunity from suit under Section 1983, and because Congress has

not specifically abrogated such immunity in Section 1983, this Court lacks

jurisdiction to hear Doe’s Section 1983 claims against the University. See

Olivier v. Univ. of Tex. Sys., 1993 WL 81990, at *1 (5th Cir. 1993) (per curiam)

(affirming dismissal under Rule 12(b)(1) of plaintiff’s Section 1983 claim

against university). Therefore, the Court should dismiss John Doe’s Section

1983 claims against UT.

   D. John Doe has not stated any legally cognizable claim for a
   Section 1983 due process violation against President Fenves in his
   official capacity.

      The United States Supreme Court has stated that “[s]ince the time of our

early explanations of due process, we have understood the core of the concept

to be protection against arbitrary action.” Cnty. of Sacremento v. Lewis, 523

U.S. 833, 845 (1998). The core of due process is the protection of the individual

from the arbitrary action of the government, whether the violation is a denial

of fundamental procedural fairness (procedural due process), or the exercise of

power without any reasonable justification to serve a legitimate government

objective (substantive due process). Id. at 845-46.

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      Although students have substantive and procedural rights at school,

“§1983 was not intended to be a vehicle for federal court correction of errors”

in the exercise of school administrators’ discretion that do not rise to violations

of specific constitutional guarantees. Wood v. Strickland, 420 U.S. 308, 326

(1975) (holding that “§1983 does not extend the right to relitigate in federal

court evidentiary questions arising in school disciplinary proceedings or the

proper construction of school regulations.”); see also Plummer v. Univ. of

Houston, 860 F.3d 767, 773 (5th Cir. 2017) (stating that “[a] university is not a

court of law, and it is neither practical nor desirable it be one.”). Indeed, the

Supreme Court has stated that a “school is an academic institution, not a

courtroom or administrative hearing room.” Bd. Of Curators of University of

Mo. v. Horowitz, 435 U.S. 78, 88 (1978). John Doe’s allegations ignore this

reality.

      1. John Doe has not stated Section 1983 procedural due process
         claim against President Fenves in his official capacity with
         respect to the allegation that UT withheld “exculpatory
         evidence.”

      The remedy for a procedural due process violation is more process. See

Neuwirth v. Louisiana State Bd. of Dentistry, 845 F.2d 553, 559 n. 12 (5th Cir.

1988); Perry v. Sindermann, 408 U.S. 593, 603 (1972). Yet in this case Plaintiff

ironically contends at the same time both that (1) he should receive more

process because his procedural due-process rights were violated but also that


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(2) he should not receive the additional process provided for by UT’s policy but

rather the Court should order the process be stopped. See Dkt. 1 at ¶¶ 33-42

and 81-83. Plaintiff’s position is nonsensical.

         Specifically, John Doe claims that UT withheld “exculpatory evidence”

from him, but that after he complained about it, UT gave him that evidence.

Dkt. 1 at ¶ 88. As such any alleged procedural due-process violation has been

remedied; John Doe now has the evidence he deems “exculpatory.” There is no

action this Court needs to take to remedy John Doe’s alleged injury. If

anything, this allegation is evidence that UT’s process is working.

         Moreover, to the extent he asserts a claim for other students5 who may

have “exculpatory evidence” withheld in their disciplinary hearings, Plaintiff

lacks standing to assert due-process claims on behalf of other people. Warth v.

Seldin, 422 U.S. 490, 499 (1975) (a plaintiff lacks standing to assert the rights

of third-parties).

         2. John Doe has not stated a Section 1983 substantive due-
            process claim against President Fenves in his official capacity
            associated with the allegation that UT withheld “exculpatory
            evidence.”

         The Due Process Clause “was intended to prevent government officials

from abusing their power, or employing it as an instrument of oppression.”

Lewis, 523 U.S. at 840 (quoting Collins v. Harker Heights, 503 U.S. 115, 126



5   See Dkt. 1 at ¶ 89.
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(1992) (internal quotations omitted). Thus, the Supreme Court speaks of the

“cognizable level of executive abuse of power” as that which “shocks the

conscience.” Id. at 847. Conduct that shocks the conscience has been described

in several ways, including conduct that: violates the decencies of civilized

conduct; is so brutal and offensive that it does not comport with traditional

ideas of fair play and decency; interferes with rights implicit in the concept of

ordered liberty; and is so egregious, so outrageous, that it may fairly be said to

shock the contemporary conscience. Doe ex rel. Magee v. Covington Cnty.

School Dist. ex rel. Keys, 675 F.3d 849, 867 (5th Cir. 2012).

      Plaintiff asserts that it was a substantive due process violation for UT

investigators to withhold “exculpatory evidence” even though the hearing

officer ordered that the evidence be provided to Plaintiff and it was.

Accordingly, UT’s conduct has not risen to the level that it would “shock the

contemporary conscience” as required for it to have violated John Doe’s

substantive due process rights. Compare Covington Cnty., 675 F.3d 867 with

Dkt. 1 at ¶54-56.

      3. Doe has failed to allege a procedural or substantive due-
         process claim associated with UT’s definition of
         “incapacitation”—which Doe claims is unconstitutionally
         vague.

      John Doe also claims that UT’s definition of “incapacitation” in its sexual

misconduct policy is unconstitutionally vague. Dkt. 1 at ¶¶67-74. A school’s


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regulation is not unconstitutionally vague if an individual of ordinary

intelligence would be on notice that “certain behavior could put them at risk

for disciplinary action, and would not have to guess at the regulation’s meaning

and application.” Osei v. Temple Univ. of Commonwealth Sys. of Higher Educ.,

2011 WL 4549609 at *16 (E.D. Penn. Sept. 30, 2011), aff’d, 518 F. App’x 86 (3d

Cir. 2013) (citing Grayned v. City of Rockford, 408 U.S. 104, 108 (1972)). A

school’s disciplinary rules do not need to be as detailed as a criminal code.

Bethel School Dist. No. 403 v. Fraser, 478 U.S. 675, 686 (1986).

      In a civil context a “vague standard is one that does not specify any

standard at all, not one that merely proscribes a wide range of not-specifically-

enumerated behaviors.” Houston Fed’n of Teachers, Local 2415, 251 F. Supp.

3d 1168, 1182-1183 (S.D. Tex. 2017). And a suitably definite rule or regulation

is “not rendered unconstitutionally vague simply because it may be unfair or

prone to error.” Id. at 1183. All that is required is that the rule provides “fair

warning” that certain conduct is prohibited. San Filippo v. Bongiovanni, 961

F.2d 1125, 1136 (3d Cir. 1992) (thoroughly discussing vagueness standard and

relying upon Supreme Court standards). The question is not whether the

standard has clear ends or beginnings in all possible situations; the key is

whether the Plaintiff was on notice that his conduct could fall within the scope

of the prohibited conduct. See Id. at 1136.



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      UT defines “incapacitation” as: “[a] state of being that prevents an

individual from having the capacity to give consent. For example,

incapacitation could result from the use of drugs or alcohol, a person being

asleep or unconscious, or because of an intellectual or other disability.” Dkt. 1

at ¶24. John Doe complains that this definition is “meaningless” and that UT

appears to conflate “intoxication” with “incapacitation.” Dkt. 1 at ¶¶75-77. But

John Doe does not assert that he was unaware that engaging in sex with a

person who is so severely intoxicated that she was unsteady, vomited, and

blacked out could be prohibited under the university’s regulation. See Doe v.

Baum, 227 F. Supp. 3d 784, 799 (E.D. Mich. 2017) (dismissing vagueness

challenge to university’s definition of “incapacitation” where student

complaining of assault was “unaware of and unable consciously to perceive,

participate in, object to, or give consent to, the sexual activity that ensued”).

      Further, to the extent John Doe claims that being disciplined for having

sex with a severely intoxicated woman who was unsteady, vomited, and

blacked out “shocks the conscience”, this claim is not ripe. But assuming this

Court has jurisdiction, John Doe makes no allegations sufficient to state a

claim that UT’s conduct of investigating the complaint and sending the matter

to a hearing officer “shocks the conscience.”

      Indeed, John Doe states in his Complaint that Jane Roe told UT’s

investigators that she “blacked out at some point during the party…[and]

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didn’t regain her memory until the moments just before she and John finished

having sex.” Dkt. 1 at ¶13. The Complaint further details information the UT

investigators were given to indicate that Jane Roe could have been so severely

intoxicated as to be incapacitated. Id. at ¶¶16-17, 26. There is nothing that

would “shock the contemporary conscience” in this case about UT pursuing a

disciplinary hearing on sexual misconduct charges against John Doe in these

circumstances.

      Accordingly, even if this Court finds that it has jurisdiction, the Court

should dismiss John Doe’s procedural and substantive due-process claims

pursuant to Federal Rule of Civil Procedure 12(b)(6).

   E. John Doe has failed to state a Title IX claim against President
   Fenves.

      Title IX provides an implied private cause of action, but the language of

the statute explicitly limits the application of Title IX to funding recipients. See

20 U.S.C. § 1682. An individual is not a proper defendant under a Title IX

claim. Williams v. Bd. of Regents, 477 F.3d 1292, 1293-1294 (11th Cir. 2007)

(“Title IX does not allow claims against individual school officials; only funding

recipients can be held liable for Title IX violations.”) (citing Hartley v. Parnell,

193 F.3d 1263, 1270 (11th Cir. 1999), and noting that Title IX contains “explicit

language limiting liability to funding recipients.”). Therefore, in accordance




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with black-letter law, the Court should dismiss the Title IX claim against

President Fenves in his official capacity.

   F. John Doe has failed to sufficiently allege a selective enforcement
   claim against UT.

      A “selective enforcement” Title IX claim is one where the plaintiff asserts

that, “regardless of the student’s guilt or innocence, the severity of the penalty

and/or the decision to initiate the proceeding was affected by the student’s

gender.” Yusuf v. Vassar College, 35 F.3d 709, 715 (2d Cir. 1994) (seminal case

on “selective enforcement” claim); see also Plummer v. University of Houston,

860 F.3d 767, 777-778 (5th Cir. 2017) (applying but not explicitly adopting this

cause of action). In other words, Plaintiff must plead that “a female was in

circumstances sufficiently similar” to Plaintiff and that the female was treated

more favorably. See Doe v. Univ. of the South, 687 F. Supp. 2d 744, 756-757

(E.D. Tenn. 2009) (granting motion to dismiss on selective enforcement claim

where suspended male student failed to allege that a similarly-situated female

student would not have been subjected to the same disciplinary proceedings).

Plaintiff must “demonstrate[] selective enforcement through the identification

of a comparator of the opposite sex who was treated more favorably by the

educational institution when facing similar disciplinary charges.” See Doe v.

Case Western Reserve Univ., WL 5522001 at *6 (N.D. Ohio 2015). The

comparator cannot be the person who accused the plaintiff. Id.


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      Here, Plaintiff fails to allege any similarly-situated females would have

been treated better. See generally Dkt. 1. Plaintiff alleges the decision to

initiate Title IX proceedings against him was based on gender bias, but fails to

plead any plausible facts evidencing gender bias by UT. See generally id.; Sahm

v. Miami University, 110 F. Supp. 3d 774, 778 (S.D. Ohio 2015)

(“Demonstrating that a university official is biased in favor of the alleged

victims of sexual assault claims, and against the alleged perpetrators, is not

the equivalent of demonstrating bias against male students.”); Doe v.

Cummins, 662 F. App’x 437, 454 (6th Cir. 2016) (affirming district court’s

dismissal where plaintiff failed to plausibly allege gender bias as opposed to

bias in favor of those reporting sexual assault); Doe v. Univ. of St. Thomas, 240

F. Supp. 3d 984, 991 (D. Minn. 2017). The only potential comparator Plaintiff

identifies is the complainant—the person who accused the plaintiff; the

complainant is not an appropriate comparator in a Title IX selective

enforcement claim. See Case Western, WL 5522001 at *6. Further, Doe does not

allege that he filed a university complaint against any female alleging he was

assaulted while incapacitated. See generally Dkt. 1. Thus, even his attempt to

draw a factual parallel to Jane Roe is without factual support.         In sum,

Plaintiff’s allegations amount to only speculation and tenuous inferences of

any bias and are, therefore, insufficient to state a Title IX selective-

enforcement claim against UT. Plotkin, 407 F.3d at 696 (“We do not accept as

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true conclusory allegations, unwarranted factual inferences, or legal

conclusions.”). Accordingly, even if this Court finds it has jurisdiction (i.e., that

Plaintiff has standing and ripe claims) the Court should dismiss the Title IX

claim pursuant to Federal Rule of Civil Procedure 12(b)(6).

                                 CONCLUSION

      For the above reasons, Defendants respectfully request that the Court

dismiss John Doe’s claims, with prejudice, and grant all such further relief to

which Defendants UT and President Fenves, in his official capacity, may be

entitled.

                                        Respectfully submitted,


                                        KEN PAXTON
                                        Attorney General of Texas

                                        JEFFREY C. MATEER
                                        First Assistant Attorney General

                                        BRANTLEY STARR
                                        Deputy First Assistant Attorney
                                        General

                                        JAMES E. DAVIS
                                        Deputy Attorney General for Civil
                                        Litigation

                                        ANGELA V. COLMENERO
                                        Chief, General Litigation Division




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                                     /s/ Sean Flammer
                                     Sean Flammer—Lead Counsel
                                     Texas Bar No. 24059754
                                     Christine Smith
                                     Texas Bar No. 24088432
                                     Carl Myers
                                     Texas Bar No. 24046502
                                     Office of the Attorney General
                                     General Litigation Division
                                     P.O. Box 12548, Capitol Station
                                     Austin, TX 78711-2548
                                     sean.flammer@oag.texas.gov
                                     carl.myers@oag.texas.gov
                                     christine.smith@oag.texas.gov
                                     (512) 463-2120 PHONE
                                     (512) 320-0667 FAX
                                     COUNSEL FOR DEFENDANTS
                                     UNIVERSITY OF TEXAS-AUSTIN
                                     AND GREGORY FENVES, IN HIS
                                     OFFICIAL CAPACITY



                       CERTIFICATE OF SERVICE

       I hereby certify that on February 12, 2018 a true and correct copy of the
foregoing document was served via the Court’s CM/ECT system to the below-
listed counsel of record:

Brian Roark
Botsford & Roark
1307 West Avenue
Austin, TX 78701
512-476-1900
brian@brianroark.com
ATTORNEY FOR PLAINTIFF


                                     /s/ Sean Flammer
                                     SEAN FLAMMER



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